                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                 Plaintiff,                     )
                                                )
         v.                                     )          No. 4:16-CR-00150-DGK-08
                                                )
CINDY ANN NEVATT,                               )
                                                )
                 Defendant.                     )

                              ACCEPTANCE OF GUILTY PLEA AND
                                  ADJUDICATION OF GUILT

          Pursuant to the Report and Recommendation of United States Magistrate Judge Sarah W.

Hays (Doc. 298), the plea of guilty by the Defendant to the Information, is now accepted and the

Defendant is adjudged guilty of such offenses. Sentencing will be set by subsequent order of the

Court.

          IT IS SO ORDERED.


                                                     /s/ Greg Kays
                                                    GREG KAYS, CHIEF JUDGE
                                                    UNITED STATES DISTRICT COURT

Dated: August 30, 2017




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